UNIq;i::lB%iL.z'lJE?e¥lZ/€N|TAQ) P"|DQ”C(`OOUR l§e(gjliq`g{? …17{i\ll 1)|5'1|`:1){3[`9.`§` §L)POTFIB()RID \

11111;1!:,.,1",1,1;1241=:;:'11 '1;1_:§._'1 1_1;
(.?_1:.|./.1`|1'11';1§1§ 1‘,1,#/,11\1,(,1,11,1|_11’_1_11_11_111_ A<lj 11 S.tm cut ,01`,,1)1~‘1)1$)

 

 

 

[__l __ __ _ _r hiih_m`_____m________ _ Orig;inal 1’|2111
[:l vmm /\niendcd l’ltin tlndicute lst` ',’.nt.|` etc. /\111e11det|` il`:ipnlic:iii|c_i
i!_] 4tl1 i\/lodi|"ted l’lztn (lndieate ist_ P,nd. etc. Modii`ied. ll`:ipplieuh|ei
DIZB'I`OR: _Ed_uardo Antonio Rainircz .]OINT DEBTOR: `________ _ _ `__A _gww (i/\Sl§ Nt).: 117~l7272-»1.;\ll
581*:.\;)<.\-)<)<-5809 SS#: xxx-x.\’~
1. uo:fi§;i;_§ ` _
To chtol'S; P|ans that do not complyl with locai rules 1111tl_iudieiul rulings11111_\'111)the eonl"irin;ilile. .`-\ll p|:111.;.;1111e11tle\l pluue

and modified plans Shall 1113 Sei'veti upon all creditors and 11 certificate oi`.~'erviee li|c(l \\‘ith the t`ler|\' ;1t11'.;11;1111111
l..ocol Ru|es 2002-l LC)(S)`30|5-1{1%)(2)`1111113015»?.l)ehtor(:t]inuste11111111e11eepltu11111}111eiils\1'itlti11,`\i,-ti
filing the chapter 13 petition or within 30 days ol`entr).‘ o|` the order con\ertin;; the eu.\e to chapter i `».

'1`o C.`reditors: Yotir rights may be affected by this p|on. You must lile ti timely proul`o|`e|uiin 111 order to he puitl_ \'oui ei;iiu. :1.1 1
be reduced modified or eiiininzttcd.

'l`o A|l l’arties: Tlie plan contains 110 nonstandurd provisions other than those set out in puru§;rupl1 \'ill. l)ehtor(i`i 11111.\1 cue-et ~
box on each line listed below in this section to state whether the plain includes 1111_» ol`the ll)||ov.'in_s_'_:

 

'l`|1e valuation ot`zt secured claim set out in Seetion 111 which may result in 11

 

 

 

i!iil included l l :\§ot inelu.i».~.:
pnztinl 11;1Y111e11t ot no payment at all to the Scctucd creditor ` _ ‘
v .\voidtinccoi a judicial lien or nonpossessoiy,11o11piiic|1ase-111one) seciuity intended set m l l v [| -]_m_…'d;`ld n iiru, \.… lm|l…__…
out in Section ill _* 1 n w ii ‘ `
:i\l'omiii,tandaid piovisions, Set out in Scction Vl[[ 4 n mm w nw _:_M l [Wl lnt|udet n il ii .`\.`1)1 int-itr..-\“:
|1. Pi A[\l PAY__M_I_~I_N__TS, _lE_NGTII OE PLAN__ _AND DFBTOR(%) /\I 1()-1{1\11- Y'S 1_11`1_`.

/\. M_(_)N_TI;L[,Ul,Ai\_l___ll/\_Y_M_I~`._N_T_: 'l`his P|an pays f`o:' the benefit ol`the creditors the 111111)11111.1l listed he|o\\-` iueluilin:\,l tru~;iee‘ .
t`ees 01`10%, beginning 30 days from the filing/conversion t|zue. 111 the event the trustee does not retain the t`u|l |t)"-t._ ;1:1_\- unit
amount Will be paid to unsecured non priority creditors pro-rata under the p|un:

 

l. _§5‘){).21 ____'_ t`or monthsiqlw__ t.o____l_.'_!w ;
2. §§_._7:»-_1._9;_2_"'___““74¢7 l`or tnontlisn_____l§_ ro__ _1_7 r;
')` .‘Jsl. 12;1¢.`3{1”_ _ ____ i`ol' mont|1s¢`_ul)1§r¢ to___§)_(_)_ ;

B. 1)1¢1%1011(€) A110RNF Y_'_S_ _1~;11_;1{- |j NoNi-i ij rko noNo
1mut“F_t't_§'::_::§é:®§§“;:mi@rai ilaiiim:_:___:_~§:>t)t)t)¢oo iatii;mt~ei)ue 7 ;:__wrl§ii)i)t).t_)t_i
Payal)le _ 3266.66 1'1110111|1(1\/1011tl1s ___l_ to __|_2:_ `)
l’ayat)|e ___¥ $[60 01/111011th(l\/1011t11s Hl__.": to 1_7__ )

 

/\|iowcd t`ecs under 1.,R 2016-1(13)(2) are itemized l)elow:
5350(3 Chopter 13 Casc, l\/ll\/ll\/l $25[}0

/\pplietttions t"oi compensation must he filed Ft)r 21|| lees o\ 1.1 andabovethe(.`t)11rt'5(}ttiticliiic\loi (,`o111pens 111011.
lll- T l§EA1.Nll‘ NT. .Ql‘.`. S.ECU R_l‘ _[) __(..l A,I l\{l,b,

/\- S_FLU_R,E;Q,QLAlM.S-' i:i NONE
_'_[ml_?_etain Licns pursuant to l l U.S.C_. §1325 (a](§)l l\/lo1'1;§§11_§:ze_{_1;')_1:_l'._1`_enl _o_n l{cul or l’ei_'$o_nz_il _l’ropci'ty.l

 

‘ ’ C"@d“°": 93\1'_911_1;9€"1§@1111i_':§__ __

/\d£ll`CSSI PO BOX 660264 Al'reuru§;c ` l)u)‘t)l`l`tiit l’etitioli l}ule
_ 12 1 . .,- .. _e, __ l .
Da]ias’ 1 X 13 66 Mi\/li\.l .\dequ:ite 1’1't1teetion n _“'12_‘)_;1.5_$___m .-‘11111111|111`\|1111ths l 111 |.t 1
l'\/ll\/ll`\-i 'l`l’l’ '|`cinporttr)' l’u_\»‘meut * iit)t}_().‘)| ____ -"1111)11111 t:\lonth.»' l_'-'i 111 1’.11

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/\ccount No.: 6367

111-731 u-¢'\T_i_t)__i-'ii_i_'_ 1’;1;;¢ 1 1115

 

CaSe 17_17272_|_|\/|| DO% §11111\} |1€1.111|11 /11111111`11 §1111111|::/3`9€ 2 O_f 5 1`:1.\‘¢ 111111111"1 1 ‘ 1 1

()11,][:|.: . . `, , , f 7 n 7 ____. .__.` _ _____ . . __ ...._._____ .`.._ ,.._ . _._ ,._._ 1,----
[W] 1{13;11 Pl'c)pcl'ly Chcc|\' 11111,‘ l1c111\1‘ 1111 1{0;11 1’1'11111.‘1'1; :
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305 NW177 St. H139
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lil]I",Scr¢)w is i111;111ch1 111 1111_' 1'1;1§_111111‘1111_\'111¢1115

[:]'1`|11: c.|cl)tur(s) will pay [ 1111ch [:__11115111';111cc 111:'1'1.'11).

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j (l‘~d'[m NCW W011d (,011(1_0111111111111 cio 1”1csligc 1\/12111;1¢_11:1110111801111111115 11_1€. _

/\ddiCSS- 160 NW 176 311 Slll[€ 309 /\1'1'¢111‘11_1_1_1: P11)»11[1` 1111 1’1:1111111'1 1)111€ W”___`_______ _____ __'______M__M j
Mlaml’ FL 33169 1{1:§111111'1’11},'111¢‘111(1\/1;11`11111111`) ‘1£(>111)1111 __ 111111111|1(1\111111|1; 1_1 111

~ 1 "'"" '? f 1 11.')1;
ll,dst[l Dlglts 01 chul(u 1¢1)11111111(1\1‘1111111111) um 5511_1_1__1111 __ 111111111111 11111111_ | 1 1 1

1\£€11111111\10.: w ` 5(_}5_*4!¢

01|11:1': - -
|] RCH] Pmper[y (.`.|11:£|\' 11110 111:111\)\‘ 1`111' |<’.1:;11 111'1'1111:1‘1_\’;
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l ':_]Othcr Rea| 1’1'c)pe1'ty

I_ _11",51_‘1'1111-'1>,111c1111lc11 111 1111l 11';_111|111'1111'\'111¢111>‘

[1111|'1`11¢110111111'(5)11-’i1| 1111_\/ 161111.\'€5 |§1'1`[1115111'11111'»‘ 11111:¢11;

/\dd:'css oi`Collatcra|:
305 NW 177 St_1113‘)
1\/11;11111, FL33169

l 1 Pc1'.soz1a| 1’1'01)€1'1}'.!\/€|11€1@

1)cer1p11011 01 Co]latelal: __ __ ,

B. Y:Al UA'_I_`I_Q_N_ Q_F _COI LATFRAL [:] NONE
1’1,.-`\1\' SI".I".KS '1`() V `\1.111~`. '1`11|§ 1`1)1.1,,1`1`|{|\1.`11

11~` YOU ARE /\ SF,CURED CRFI)ITOR 1,1$`1`1?.[) BELO\‘J, '1`111
SE(`[_JR[NG YOUR Cl_/\HVI lN '1`1'113 /\MOUNT INDIC`,`A'[`I€U. /‘\ 51~`,|‘.\1{/\'1`1'11\/1()'1`1()1\1 \‘."11.1./\1,3()1%|‘._‘\1_|\‘\.'1::) 1 1’1.!\.

YOU PURSUANT TO BR 7[}04 AND I,R 3015-3.
l. REAL PROPF.RTY: [:] NONE

1. Clcd_itol: NCW _W_Olld_§:mig H__" Vaiuc 01`€0|1£111:1'11|.‘ w §§16_0(1()._{1(_) ` l,"d,‘y"l¥_l¢¢ll€
Addr'css: |3441 NW 2 AVC, 511er 595 /\111111111101`C1'1:111101"51,1011: v SU.()() l"U\il!1""‘11@1'113|`1\“? -`U 1:1‘

1\/1 iami_ F`l.,

 

1111)1111111\‘11)1111`.1 1.,

1121$1='1 1')1`_"_1`15 01`/\1:€0111111\10.: m_5_1_)_5____ _ 11111:1'¢51 Raic: 11;1111:-?1

C11cc1( 0110 13010\1':

m Escmw is included 111 1119 1111)111111)1

!JOthel. Rea[ property 11101'1gz1ge payment listed i11 11115 Scc11011
I:| T|1c dcbtor(S) Wi|l pay

Address 01`C01|ate1'211: _ __‘

395 NW 177 S[ }1|39 [`_r]tuxcs |7¢711115111'11111'¢ directly

Rcal 1’1'11p1:1'1y
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2. VEHlCLES(S): li NONI:‘,
3. PF.RSONAL 1’1101‘1:111"1'; El] NONl-:
<:. .111_EJNAVC)_11)_11_NC1;_ 1:| NONE

 

1’11_:1c ‘ 1115

11|'~3|11'11 1(15`|7`1

Page 3 015

nmiie/ t11~1c11tn11l1 1.

Case 17-17272-111' DO1111111111111111.11/111_11111_1

[.]_4;1\. }r! .l|_

l). EsURRFNDFR O_F_ _(`_Q_l__ _]_1 _ATF.RAL: Scctned claims liled by 2111_\- eich tor granted slag1 ieliet` 111tl11's1 section ah ill not m
disuibution tom the Chaptei l.> "Fiustee.

@ NONE

E. I)IRI;IV(;T`K_AYM_F_.MIS: Secured claims filed by any creditor granted sta>ll reliel` in this section shall not reeti\e1111`i.\'tr:t'1.1111.1
t`om the Chepter lB Trustee.
[§"] NONE
lV. TI{EATMPZN_T_ _QF_F_E_F‘,_S_A_NI_),__,}?]_Z_I_(_}R]TY,CI-ALMS,laS defined in | | U.S.C. §507 and | t llS.(`l\ § |1§2,?1;1)1_1)1
/\- dl)l_\/l_!l_`_~l_l$_”lli!\_'l`,l_\ili EI‘§F..S_O'l`jlFMll/,\,N,DEBTORS(S)' ATTON.NF-,\"S F`l'_`/F.I bid NONF
B- I.N.TERNAl__1__l§_E_Y_Fd\_l_UE_ SFRYICE: l§l NONF
C. I)Ol\/IFS'I __I_(_` _S_l_i PI’()RT_ _OB_I _I__G__ATION(S): [i_] N()Nl

D. O'l`lIER: @NONH

V. T_RIZ_AT_MFNT,QE,lJNSL(`.UIIED___NQNPRI()RI_TY Cl{l"._l)l:l`__()_l{$
A_ Pay ____$_Z_Qfl_.t§______ /`111ont|1(l\/lontl1s l§m tc)¥t’)t_) )
Pay __ ‘111011tl1(l\/lontl1s to )

l*ro rata dividend Will be calculated by the 'l`rustee upon review ol` filed claims alter bar d;itc.
.m li`cheel<ed the Debtot(s) will '1111endn11odil`y to pay 100°/ o to all allowed unsecured nonpriority elaim§_

C. §l‘.;l,°.ABJ_/\IF~_LX__CL__AS§l_ElE_lli l:lj NONE
*chtor($) certify the Sepal‘ate ClzlSSiliCatioti(S) ol`[hc claim(§] listed above will 1101 prejudice other unsecu red nonpriorit:
Creditors pursuant to l l U.S.C. § 13221
Vl- EXFCUTQBY COl_\_lTR_/\C:FS_AND_ _UNFXPIRI`:.D.l<["-¢=`SES.! SCCUl'CLl Cléll|?lh' lilt.’tl hj' au_v creditor lessor granted st.‘.i_\' reliet`.`:1 -11.
section 1shall not receive a distril~iution i`rom the Chapter |3 'l`rustcc.
l:l:l NONE
VH- lNACQME TAYXHBEI_U_R_N§_!_\._ND RE_EU].`§.I_)_S! l:l N()Nl§

m The debtor(s] is hereby advised that the chapter 13 trustee |121:1 requested that tile debtorts) eompl_\ \'. ith i‘.!tl`.1 l
annual basis durinv the pendency oi`this easc. 'l`l1c debtoi{s) herel b\ taci\'no\\led_\_je.\tl1.1t the deadline i`ot 11111\i lin tl:t-
'lrustee With theil filed ta\ ietuins is on or beloie l\/lz]\ l5 ol each \e1tr the cede is pc ndin_r__l and that the debt 111111. 1l11tli
provide the trustee (but not file with the Coult) \vith verification ol their dis1os111bi1 income il then 111111\_1 l1t111.1'1iiotd 1111;111.,1‘
increases by more than 3% over the previous vc€n"s income. ll\/léaini cuscs]

Vlil» N.Ol\.l'»°il/_S_l_\_l_l)_£\__l§l) PLA_N,_PRQY[§IONS m NONF.
l_l Nonstandard provisions must be 1Set forth belovv. A nonstandztrd provision is a provision not otl1er".'1`:se included in tile l.oe1;i
l"orm or deviating from it. Nonstendard provisions set out elsewhere in this plan are '.'oid.

l___| l\/loltga§.;e l\/iodif`teatioti l\/lediation

11'-11111»\ 111-3111 i’u-_cli vi`."

t.| 3| tre\ ltl ."!?l

CaSe 17_17272_|'|\/|| Do%t§gulsl|:d_|t?u§_tjrtQ)Qs\/rtoto?n/ti|i§.nnri::/age il OF_B ` t`nse rrtnrrl).‘r' l" r"i"". .
l 'l`he debtor has filed a Vcritied l\/lotion t`or Ret`crral to l\/ll\/ll\/l it'ith:

l"l .t'litlt'r "i

059/eliL@ra_§_rmrt“al'lJC __ l __ , , ,, , , _
loan number 6367

for rear propeliy“ii§§§§<;<t:ii“s_€)§i§tirv iii"si,"ni_s“<)_
_3_95 Nw 177§_1, russ i\_gntnni_ ri. .z_sie_tr __ _

 

'l`he parties shall timely comply with all requirements ot`the ()rder ol` Rel`t:rral to l\/ll\’il\/l and all i\dministrativ.: t )rt|eis l oL .i;
Rttles regarding l\/ll\/ll\/l. While the l`\/ll\/ll\/l is pending and until the trial/interim payment plan or tht permanent morn'_:t;o:

medil`tcation/permancnt payment is established by the partiesl absent Com't order to the contrary the debtor li;.s included -.i .:;- .

petition monthly plan payment (a) with respect to the debtor`s homestead ol`no less than the lower ot`tlie prepetition r.i.ii,i _:
contractual mortgage payment or 3 l% ol` the dcbtor’s gross monthly income ta|`ter deducting any amount paid ro\.-.;rrii ;iti

due t`or the property) and (b) with respect to income producing property ot` no less than 'f$% ol` the gross income ;_ici~.cr itc .
such property, as a good faith adequate protection payment to the lender. .\ll payments shall be considered timel}l upon rt:..ci,‘ i-.

by the trustee and not upon receipt by the lender.

llntil the l\/ll\/IM is completed and the l-`inal Report ol`l’\/lortg,ag;e Modil"teation l\/lediator is I`iled` any objection to the lemler`
proofol`claim on the real property described above shall be held in abeyance as to the regular payment :md im)rt;_i;n»e '.;rie;ii;.. c
stated in the proot`ot`c!aim only, The debtor shall assert any and all other objections to the proo|`ot`c|:tim prior to eonlirm::ii\ :.
ot`the plan or modified plan.

ll` the debtor, co~obligor,'eo»borrower or other third party (il` npplicable) and thc lender agree to a settlement ;i.' a i'-.:s.nlt oz
pending MMM, the debtor will tile the l\/[Ml\/l lrocal l"orm "l-`,x Partc l\lotion to .‘tppro\*e i\lort_i_iai_;e lvlt.--,lil'ie:ition sign eeo
with I.endcr” (_or Sell`-chresentcd l)ebtor’s l\/lotion to /\.pproyc Mort_ii_aj.;e l\'lot'lil`ie.'ition ./\arcemem with l.eml. rt no l:iier ::i;. .
!-'i calendar days following settlement ()nce the settlement is approved by the (,`ourt, the debtor shall immediately ;:men\:
modify the plan to ret`lect the settlement and the lender shall amend its l‘rot'>t`of"t.`i:.tim to rel`lect the sett|crncnt. ;;s ;ipp|icat»i.

lt`a settlement is reached after the pian is conl`rrmed, the debtor will tile a motion to motlil`y the plan no later t|i;ni itt c;tl-_-mi 'r
days following approval oftlie settlement by the Court and the lender shall have leave to amend its l’rool`ol`(,‘lair.i to iz-lit~_~_
the settlement reached alter confirmation ot`the plan. The parties will then timely comply with any and all rctji,iireinci,ts
necessary to complete the settlement

In the event the debtor receives atty financial benclit t`rom the lender as part ol` any agreement the debtor slr;il! iinii;; r..;.t-i
disclose the tinaneial benet"it to the Conrt and the trustee and amend or modil`y the plan :rceort'lint_tly.

it`tlie lender and thc debtor t`ai| to reach a scttlemcnt__ then no later than l/l calendar days at`ter the ntediator`s l~`ina| l\'eport i'
t`iled, the debtor will amend or modify the plan to (a) eonl`orm to the lender’s Proot`ol`(jlaim (il`tlie lender has |`iletl a |’i'oot`oz`
Claini), without limiting the Debtor’s right to object to the claim or proceed with a motion to valtic; or (b) provide tlr;it me i-. -.
property will be “trcated outside the plan." ll`the property is `“trcated outside the plan"` the lender will be entitled to m rem ~'.;i
relief to pursue available state court remedies against the property Not\'..»'itlistantlin_r._t the l`orct_:oin`i_;` lender may lilt~ :i mci ion . .
confirm that the automatic stay is not in et`t`ect as to the real property

Conl`rrmation oftbe plan will be without prejudice to the assertion ol`any rights the lender has to address pa_\fm..m .n` its lt ¢;
ot`Claim.

l’:ir_te -l til`$

Pag§ 5 of 5

llllll|'l."/

CaSe 17-17272-Ll\/|| DO(\:)C§O Fidl 9/07/_1§\

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l’ROI’ERTY OF THE ESTATE \Vllll.J VF,ST lN 'I`Hl§ l)EB'l`()R(S) UP()N l’l.,'\N (§()`\lFil€n/l -'\’l`i()"\

l declare than thc foregoing chapter 13 plan is true and Col‘reel under penn|ly oi` perjur\j

11 l dunldo /\nlonio Rznnirc'/ Del)Lor 0171'39 | 3

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l-. chnn'cio /\nionio Ramn 1,/ l)‘“c ')‘l"
'_s Ricnrdo Co__ron'¢_l lisq 91'71‘2(}1“§§
Aiior ney with permission to sign on banc

l)el)to:(s)' behalf

B_\ filing 1|115 document, thc Attorney for [)ebtor(s) orl)chtor(s)` ii`not represented 111/counsel mullins1i11111he\1o111111» 111u

mdu ofihe provisions in this Chapter 13 plan are identical to those contained in lsoeal l`orm ("lmpiu 13 l’l1111 .11111 1111 1 l 111
contains no nonslandz\rd provisions other than those set out in p:irnvraph VlIl

ll| -.l| iro\ ill 3 |7) l';i;:c 'i nl`i

